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 7 United States of America

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         Case No: 1:14-cr-228 LJO-SKO

12                                Plaintiff,           MOTION TO DISMISS SUPERSEDING
                                                       INDICTMENT
13                           v.

14   ASHLEY STARLING THOMAS,

15                                Defendant.

16

17
            Pursuant to Rule 48 of the Federal Rules of Criminal Procedure, the United States, by and
18
     through United States Attorney McGregor W. Scott and Assistant United States Attorneys Grant Rabenn
19
     and Vincente A. Tennerelli, hereby moves to dismiss the Superseding Indictment (Dkt. No. 244) without
20
     prejudice.
21

22    Dated: July 27, 2018                                MCGREGOR W. SCOTT
                                                          United States Attorney
23

24                                                   By: /s/ VINCENTE A. TENNERELLI
                                                         VINCENTE A. TENNERELLI
25                                                       Assistant United States Attorney

26
27

28


      MOTION TO DISMISS SUPERSEDING INDICTMENT
30
          Case 1:14-cr-00228-LJO-SKO Document 447 Filed 07/27/18 Page 2 of 2

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                                IN THE UNITED STATES DISTRICT COURT
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                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                      Case No: 1:14-cr-228 LJO-SKO

12                               Plaintiff,         ORDER DISMISSING SUPERSEDING
                                                    INDICTMENT
13                         v.

14   ASHLEY STARLING THOMAS,

15                               Defendant.

16

17         Upon application of the United States of America and good cause having been shown,

18         IT IS HEREBY ORDERED that the Superseding Indictment in the above-captioned matter is

19 hereby dismissed without prejudice.

20

21
     IT IS SO ORDERED.
22

23      Dated:    July 27, 2018                       /s/ Lawrence J. O’Neill _____
                                                UNITED STATES CHIEF DISTRICT JUDGE
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26
27

28


      [PROPOSED] ORDER DISMISSING SUPERSEDING
30    INDICTMENT
